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                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA



LARRY KLAYMAN

                                              Civil Action No.: 1:18-cv-2209
                    Plaintiff,
v.

ESTHER LIM, et al

                    Defendants.



     AFFIDAVIT OF LARRY KLAYMAN IN SUPPORT OF PLAINTIFFS’ MOTION TO
       RECUSE/DISQUALIFY JUDGE RANDOLPH D. MOSS UNDER 28 U.S.C. § 144

        1.    I, Larry Klayman, hereby declare under penalty of perjury that the following is

true and correct and based on my personal knowledge and belief.

        2.    I am over the age of 18 and mentally and legally competent to make this affidavit,

sworn under oath.

        3.    The Honorable Randolph D. Moss (“Judge Moss”) has engaged pattern and

practice of issuing severely prejudicial rulings and orders against me, which can only be

explained by a deep-seeded extrajudicial bias and animus against me.

        4.    I am the founder and former chairman of Judicial Watch, and now the founder

and chairman of Freedom Watch – both conservative watchdog organizations.

        5.    I am a prominent conservative and non-partisan attorney and public interest

activist who has brought many lawsuits against Hillary Clinton, Barack Obama, George W.

Bush, and politicians and government officials.

        6.    In 2003-2004, I ran for the U.S. Senate in the Florida Republican Primary.




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       7.       Judge Moss has donated heavily to former First Lady and Presidential candidate

Hillary Clinton former President Barack Obama, former presidential candidate John Kerry,

former Vice President Biden, the highly partisan Senator Chris Van Hollen, and a host of other

left leading Democrat candidates. Contributions between 1999 and 2013 including joint

fundraising contributions total a huge $34,850.00, not even considering similar considerable

contributions from the partners of Court’s former primarily Democrat mega-law firm,

WilmerHale (aka Wilmer Cutler Pickering Hale and Dorr, LLP). Exhibit 1.

       8.       WilmerHale not coincidentally, is also the law firm of Special Counsel Robert

Mueller, a corrupt prosecutor, who packed his prosecutorial staff with rabid pro-Clinton/Obama

Democrats lawyers some of whom also were partners at WilmerHale, such as Jeannie Rhee who

Mr. Klayman opposed as counsel in a RICO case against the Clinton Foundation and Hillary and

Bill Clinton.

       9.       Mueller, Rhee and the other partisan prosecutors on the staff of the Special

Counsel tried, at great time and expense to the American taxpayer, to destroy President Donald

Trump through hoped for criminal charges and recently by suggesting a politically-based

impeachment by Democrats in the House of Representatives. Donald Trump is a president who

Mr. Klayman strongly supports and has brought lawsuits to defend his term in office.

       10.      The enormity of the Court’s and WilmerHales’ partisan political contributions

creates at a minimum the appearance of a conflict of interest, much more the impression that the

Court effectively purchased his federal judicial appointment by President Barack Obama and

fellow leftist Democrats.




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       11.     Judge Moss was a political appointee with regard to various high level U.S.

Department of Justice positions during the Clinton and Obama administrations and has worked

for and/or volunteered for various Democrat and left leaning causes.

       12.     Judge Moss was appointed by former president Bill Clinton as Assistant Attorney

General at the Office of Legal Counsel. Fox Case, ECF No. 4-2.

       13.     Judge Moss volunteered for the Obama-Biden presidential campaigns in 2008 and

2012, as well as the Kerry-Edwards presidential campaign in 2004 and the Clinton presidential

campaign in 2007 or 2008. The Court also volunteered for Chris Van Hollen’s congressional

campaign in 2002 and Senator Gary Hart’s presidential campaign in 1984. Fox Case, ECF No 4-

2.

       14.     It is clear that this Court’s political partisanship has more than severely impacted

its decision-making, particularly given the fact that allegations concerning the Clintons and

Democrats have been levied against Mr. Klayman in the bar disciplinary proceeding at issue

herein, as set forth in the Amended Complaint, which alleges: “Finally, at the hearing in the

Sataki matter, Defendants, acting in concert, by and through Defendant Smith, openly admitted

that their motivation in prosecuting bar complaints against Mr. Klayman is because he had filed

large and complex lawsuits against Hillary Clinton, other Democrats, and other related parties,

persons, and entities.”

       15.     This political partisanship has caused Judge Moss to rule not on the law or facts

presented, but instead in an act of protectionism towards his fellow Democrats and pro-Clinton

and Obama leftists at the Office of Bar Disciplinary Counsel (“ODC”).

       16.     Taken together, Judge Moss has indisputably exhibited a strong extra-judicial bias

against me and my clients, whether it is based on personal animus or political bias.




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       17.     This extrajudicial bias against me makes it impossible for me to receive a hearing

much more a fair trial in front of him and to ensure that my due process rights are protected.

       I hereby swear under oath and penalty of perjury that the foregoing facts are true and

correct to the best of my knowledge and belief.

       Executed on June 10, 2019

                                             ___/s/ Larry Klayman_________
                                                     Larry Klayman




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